         CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 1 of 11




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

                             *********************

Bruce Rankin, on behalf of himself                     Civil No. 21-1560 (MJD/LIB)
and those similarly situated,

       Plaintiff,
                                                    PRETRIAL SCHEDULING NOTICE
v.                                                           AND ORDER
                                                    WHILE DISTRICT OF MINNESOTA
Direct Recovery Services, LLC,                       IS UNDER GENERAL ORDER
Celtic Bank Corporation,                                 RELATED TO COVID-19

       Defendants.

                             *********************

                                     NOTICE TO COUNSEL

       Counsel should be aware and anticipate that the method to be used for the resolution
of MOST discovery issue disputes and all other non-dispositive motions is presumed to be by
“formal” motion practice. See, Local Rule 7.1(a-b) – Civil Motion Practice – of the Local
Rules for the District of Minnesota. 1

       Counsel should also be aware and anticipate that “formal” motion practice, and other
matters that need to be conducted in open Court upon the record, and Settlement
Conferences, will all be scheduled for and take place in the Federal Courthouse for the
division where the case is venued, except that all 3rd and 4th Division case proceedings will
be held at the Federal Courthouse in St. Paul, Minnesota, unless otherwise notified.

                             *********************

       In accordance with the provisions of Rules 16 and 26 of the Federal Rules of Civil

Procedure, in conformity with the Civil Justice Reform Act Implementation Plan for the District

of Minnesota, which was adopted by Order dated August 23, 1993, and pursuant to the Electronic

Case Filing Procedures for the District of Minnesota/Civil authorized by Order dated May 13,

2004, a Pretrial Scheduling Order in this matter will be set by United States Magistrate Judge Leo


1
        Informal procedures for the resolution of discovery disputes may be considered, but only
with prior permission of the Court, and not pursuant to any ex parte requests.
         CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 2 of 11




I. Brisbois. The District of Minnesota, in recognition of current efforts locally and nationally to

protect persons from unnecessary potential exposure to COVID-19, is monitoring Center for

Disease Control and State of Minnesota guidance, and counsel should consult the public website

for the District of Minnesota for information regarding current steps being taken by the Court at

this time. Accordingly, in order to limit the potential for exposure due to travel by counsel and

parties, the Pretrial Scheduling in matters before Magistrate Judge Leo I. Brisbois for the time

being will decided solely on the written submissions to be made by the parties pursuant to the

Pretrial Document Submissions Deadlines below.

       In order to facilitate matters, it is –

       ORDERED:

       1.      Unless otherwise directed, in accordance with Rule 26(f), Federal Rules of Civil

Procedure, counsel for the parties shall meet and confer for direct talks via telephone (email and

letter exchanges will not be considered direct talks) no later than April 29, 2022, for the purpose

of:

               a.      Preparing a joint proposed Pretrial Schedule for the case that

                       shall include a plan for discovery setting forth specific

                       parameters for anticipated discovery, including the number

                       of depositions, the volume of documents expected to be

                       produced, the volume of written discovery, and the extent of

                       expert discovery.

               b.      Preparing a joint plan to control excessive litigation costs

                       and delays.      Such a plan shall include such matters as

                       focusing the initial discovery on preliminary issues that

                       might be case dispositive, instituting document control and
                                                  2
CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 3 of 11




          retrieval mechanisms to contain costs, stipulation to facts to

          eliminate unnecessary discovery, adopting procedures for

          orderly discovery, and scheduling alternative periods for

          party discovery and any other matters counsel may agree

          upon to control excessive litigation costs and delays. The

          parties should also consider whether electronic discovery

          will be a significant part of pretrial discovery and discuss a

          plan or protocol for electronic discovery which will control

          costs for all parties. The parties are directed to the Court’s

          Electronic Discovery Guide as a resource to aid their

          discussions.        The    Guide       can   be     found    at

          http://www.mnd.uscourts.gov/FORMS/Clerks_Office/eDis

          covery-Guide.pdf.

    c.    Preparing a proposed schedule to submit to the Magistrate

          Judge which sets forth suggested time periods for fact

          discovery, for the joinder of parties and for expert discovery;

          cut-off dates for both nondispositive and dispositive

          motions; and a trial readiness date.

    d.    Considering whether or not they will consent to trial by the

          Magistrate Judge. If consent is given, specify a preferred

          date certain for trial setting.        [Date is subject to

          confirmation by the Magistrate Judge’s Courtroom

          Deputy.] Consent by the parties to trial by the Magistrate

          Judge may also be given at a future time as well.
                                    3
           CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 4 of 11




Counsel’s attention is drawn to the attached Pretrial Scheduling Order template form which

is to be used in preparing and submitting the Proposed Pretrial Scheduling Order. The

Proposed Pretrial Scheduling Order is not to be filed on CM/ECF, but it shall be submitted

directly     to        Magistrate     Judge      Leo      I.   Brisbois    at        email    address:

brisbois_chambers@mnd.uscourts.gov.

        2.        After counsel have met and conferred via telephone on the matters set forth above,

they will file and submit a Joint Rule 26(f) Report (see Local Rule approved forms) setting forth

each of the matters agreed upon on or before May 10, 2022. To the extent that counsel cannot

agree upon any of the items set forth in Paragraph 1 above, then within the body of the Joint Rule

26(f) Report each party shall submit its own proposal for each item of disagreement for review by

the Magistrate Judge. The Joint Rule 26(f) Report shall be filed on CM/ECF and a courtesy copy

submitted     directly     to   Magistrate     Judge    Leo    I.   Brisbois    at    email   address:

brisbois_chambers@mnd.uscourts.gov.

        3.        In addition to the foregoing, on or before May 10, 2022, the Defendant(s) shall

advise the Plaintiff(s) of any applicable insurance coverage and the limits of the same, and, if the

Plaintiff has placed a medical condition, physical or mental, into controversy, then the Plaintiff

shall provide a listing of all pertinent treating physicians, if any, and duly executed Medical

Authorizations. See, O’Sullivan v. State of Minnesota, 176 F.R.D. 325 (D. Minn. 1997). Each

party shall also file on CM/ECF, by no later than May 10, 2022, a concise Statement of the Case

setting forth that party’s:

                  a.      Version of the facts of the case;

                  b.      A listing of particularized facts which support the claimed

                          liability or defenses, including any applicable statutes as

                          identified by number; and
                                                    4
            CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 5 of 11




                c.     An itemization and explanation of any claimed damages.

This Statement of the Case is to be signed by counsel and filed on CM/ECF pursuant to the

Electronic Case Filing Procedures of the District of Minnesota and served on opposing

counsel.

       4.       In addition, subjects contemplated by Rule 16(c), Federal Rules of Civil Procedure,

should be discussed as part of the 26(f) telephonic meet and confer. Without limiting the generality

of the foregoing, in advance of the Pretrial Document Submissions Deadline the parties should

consider:

                a.     Limitations and restrictions on expert testimony;

                b.     The appropriateness and timing of Summary Judgment;

                c.     The control and scheduling of discovery;

                d.     Resort to alternative dispute resolution techniques;

                e.     Reasonable limits on the time allowed for presenting

                       evidence at trial; and

                f.     Counsel are expressly directed to seriously discuss

                       settlement at the time of the 26(f) “meet and confer.” The

                       results of that discussion shall be reported to the Court

                       at the time of the initial Pretrial Conference, and EACH

                       ATTORNEY SHALL SUBMIT, BY MAY 10, 2022, A

                       CONFIDENTIAL             LETTER     PROVIDING          THAT

                       PARTY’S CONFIDENTIAL ASSESSMENT AS TO

                       WHEN PRIMARILY NECESSARY DISCOVERY

                       MIGHT BE DONE SO AS TO SUGGEST THAT AN

                       OPTIMAL TIME WOULD BE FOR A SETTLEMENT
                                                 5
         CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 6 of 11




                      CONFERENCE SO THAT SETTLEMENT EFFORTS

                      WOULD BE MOST FRUITFUL.                   This confidential

                      letter shall be submitted directly to Magistrate Judge

                      Leo I.        Brisbois        at        email      address:

                      brisbois_chambers@mnd.uscourts.gov.

       5.      Following the passing of the Pretrial Document Submissions Deadlines herein, an

order establishing a schedule for all pretrial proceedings, and such other matters as contemplated

by Rule 16, shall be entered, by the Court.

       6.      The Pretrial Document Submission Deadlines in this Notice and Order will not be

continued pursuant to an independent Stipulation or agreement of counsel or by an informal

unilateral application by a party. A continuance of the Pretrial Document Submission Deadlines

may be granted only by this Court and only for good cause shown. However, the right to act upon

a request for a continuance of the Pretrial Document Submission Deadlines herein, ex parte if

exigent circumstances so warrant, is reserved to the Court.

                                                    BY THE COURT:


DATED: April 22, 2022                               s/Leo I. Brisbois
                                                    Leo I. Brisbois
                                                    U.S. MAGISTRATE JUDGE




                                                6
         CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 7 of 11




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

                             *********************

Bruce Rankin, On behalf of himself                    Civil No. 21-1560 (MJD/LIB)
and those similarly situated,

       Plaintiff,

v.                                                  PRETRIAL SCHEDULING ORDER

Direct Recovery Services, LLC,
Celtic Bank Corporation,

       Defendants.

                             *********************

       In accordance with the provisions of Rule 16, Federal Rules of Civil Procedure, and the

Local Rules of this Court, to administer the course of this litigation in a manner which promotes

the interests of justice, economy and judicial efficiency, the following Pretrial Schedule will

govern these proceedings. The Schedule may be modified only upon formal Motion and a

showing of good cause as required by Local Rules 7.1 and 16.3.

       Counsel shall also comply with the Electronic Case Filing Procedures For the District

of Minnesota, pursuant to Order Adopting Electronic Case Filing, dated May 13, 2004.

       THEREFORE, It is –

       ORDERED:

                                               I.

       That all pre-discovery disclosures required by Rule 26(a)(1) shall be completed on or

before [INSERT DATE]. The period during which the parties must conduct all discovery
         CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 8 of 11




(whether fact or expert) shall terminate on [INSERT DATE]. 1 Disputes with regard to pre-

discovery disclosures or discovery shall be called immediately to the Court’s attention by the

making of an appropriate Motion, and shall not be relied upon by any party as a justification for

not adhering to this Pretrial Scheduling Order. No further or additional discovery shall be

permitted after the above date except upon motion and by leave of the Court for good cause shown,

and any independent Stipulations or agreements between counsel which contravene the provisions

of this Order will not be recognized. However, upon agreement of counsel, or with leave of the

Court, depositions in lieu of in-Court testimony may be taken after the close of discovery.

                                                II.

       That all Motions which seek to amend the pleadings or add parties must be filed and the

Hearing thereon completed on or before [INSERT DATE]. 2

                                               III.

       That all other nondispositive Motions shall be filed and the Hearing thereon completed

prior to [INSERT DATE – this date should be 30 days after the discovery deadline], by calling

Jennifer Beck at 218-529-3520, Courtroom Deputy for Magistrate Judge Leo I. Brisbois. All

nondispositive Motions shall be scheduled, filed and served in compliance with Local Rule 7.1(a)

and (b) of the Electronic Case Filing Procedures For The District of Minnesota. No discovery

Motion shall be heard unless the moving party complies with the requirements of Local Rule 37.1.

                                               IV.




1
       See Local Rule 16.2(d)(3) of the United States District Court For The District of Minnesota
Local Rules.
2
       This deadline does not apply to motions to amend pleadings to assert a claim for punitive
damages. Motions which seek to assert claims for punitive damages must be filed and the Hearing
thereon completed prior to the discovery deadline in Paragraph I.
                                                2
         CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 9 of 11




       A Mandatory Settlement Conference pursuant to Local Rule 16.5(b) in the above-entitled

matter will be set before Magistrate Judge Leo I. Brisbois, [INSERT DATE, TIME and

LOCATION WILL BE DETERMINED BY THE COURT] in [SELECT ONE LOCATION]

[Courtroom No. 3, Gerald W. Heaney Federal Building and U.S. Courthouse, 515 West First

Street, Duluth, Minnesota] [Courtroom No. 2, Edward J. Devitt Federal Building and U.S.

Courthouse, 118 South Mill Street, Fergus Falls, Minnesota] [in the Devitt Courtroom, Warren E.

Burger Federal Building and U.S. Courthouse, 316 North Robert Street, St. Paul, Minnesota]. A

separate Notice of this Settlement Conference shall be issued outlining the parties’ obligations for

preparation and for appearance of the Conference.

                                                 V.

       That no more than [INSERT NUMBER] Interrogatories (counted in accordance with Rule

33(a), Federal Rules of Civil Procedure), shall be served by any party. [If the parties have

stipulated to limitations on either the scope or number of discovery requests pursuant to Rule 34

and Rule 36, the terms of such stipulation should be inserted here as well.]

                                                VI.

       That no more than [INSERT NUMBER] depositions (excluding expert depositions) shall

be taken by any party without prior Order of the Court.

                                                VII.

       That within the foregoing period allotted for discovery, but no later than the dates set forth

below, the parties shall retain and disclose to opposing counsel all persons they intend to call as

expert witnesses at trial. 3 Each party’s disclosure shall identify each expert and state the subject

matter on which the expert is expected to testify. The disclosure shall be accompanied by a written


3
       This includes any witnesses who were retained for purposes of conducting an examination
pursuant to Rule 35.
                                              3
        CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 10 of 11




report prepared and signed by the expert witness. 4 As required by Rule 26(a)(2)(B), Federal Rules

of Civil Procedure, the report shall contain:

               a.      The qualifications of the witness, including a list of all
                       publications authored by the witness within the preceding 10
                       years;

               b.      The compensation to be paid for the study and testimony;

               c.      A listing of any other cases in which the witness has testified
                       as an expert at trial or by deposition within the preceding
                       four years;

               d.      A complete statement of all opinions to be expressed and the
                       basis and reasons therefor;

               e.      The data or other information considered by the witness in
                       forming the opinions; and

               f.      Any exhibits to be used as a summary of or support for the
                       opinions.

       The Plaintiff’s disclosures shall be made on or before [INSERT DATE]. The Defendant’s

disclosures shall be made on or before [INSERT DATE].

                                                VIII.

       The parties [do] [do not] contemplate taking expert depositions. No more than [INSERT

NUMBER] experts may be deposed by any party without prior Order of the Court.

                                                IX.

       That each party shall fully supplement all discovery responses according to Rule 26(e),

Federal Rules of Civil Procedure. Any evidence responsive to a discovery request which has not

been disclosed on or before the discovery cutoff or other dates established herein, except for good

cause show, shall be excluded from evidence at trial.



4
       If no written report is required by Rule 26(a)(2)(B), the disclosures shall still comply with
Rule 26(a)(2)(C).
                                                 4
        CASE 0:21-cv-01560-MJD-LIB Doc. 23 Filed 04/22/22 Page 11 of 11




                                                X.

       All dispositive motions shall be filed by the moving party on or before [INSERT DATE

– this date should be 30 days after the date for non-dispositive motions]. 5 All dispositive

motions shall be scheduled, filed and served in compliance with the Electronic Case Filing

Procedures for the District of Minnesota and in compliance with Local Rule 7.1. Counsel shall

schedule the hearing by calling Gerri Rishel, Judge Davis’ Courtroom Deputy, at 612-664-5070.

       When a motion, response or reply brief is filed on ECF, two (2) paper courtesy copies of

the pleading and all supporting documents shall be mailed or delivered to Gerri Rishel, Courtroom

Deputy, at the same time as the documents are posted on ECF. If the moving papers are more than

one inch combined, the papers should be provided in a tabbed, three-ring notebook.

                                                XI.

       That this case shall be ready for Trial on [INSERT DATE - this date should be four (4)

months after the date for dispositive motions] 6, or 30 days after the Court renders its Order on

any dispositive motion (whichever is later), at which time the case will be placed on the Court’s

[JURY] [NON-JURY] trial calendar. That the anticipated length of Trial is [INSERT NUMBER

OF DAYS OR WEEKS].                                    BY THE COURT:



DATED:                                                ___________________________________
                                                      Leo I. Brisbois
                                                      U.S. MAGISTRATE JUDGE

5
        The parties should attempt to schedule dispositive motions after all discovery has been
completed and to schedule all dispositive motions for the same hearing and should strive to avoid
duplication in their briefing. If the parties believe early or piecemeal dispositive motion practice
is necessary, they should seek permission of the District Judge.
6
        THIS DATE IS NOT A TRIAL SETTING DATE. The parties will be notified by the
Calendar Clerk of the assigned Judge to a case by way of a Notice of Trial as to when this case
will be placed on the Trial Calendar. The above date is merely a notice to all parties to consider
the case ready for trial as of this date. DO NOT PREPARE FOR TRIAL UNTIL NOTIFIED.
                                                5
